
      1
     In re the Marriage of Robert E. Camilleri, Petitioner  and  Amanda L. Taylor, n/k/a Amanda Camilleri. Respondent No. 24SC62Supreme Court of Colorado, En BancNovember 4, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 22CA627, 22CA1213, &amp; 22CA1476
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    